Case: 22-40043 Document:349 Page:1 Date Filed: 02/22/2024

Supreme Court of the United States
No. 23-60
JOSEPH R. BIDEN, JR., PRESIDENT OF THE

UNITED STATES, ET AL.,

Petitioners
Vv.

FEDS FOR MEDICAL FREEDOM, ET AL.

ON PETITION FOR WRIT OF CERTIORARI to the United States Court
of Appeals for the Fifth Circuit.

THIS CAUSE having been submitted on the petition for writ of certiorari
and the response thereto.

ON CONSIDERATION WHEREOF, it is ordered and adjudged by this
Court that the petition for writ of certiorari is granted. The judgment of the above court in
this cause is vacated, and the case is remanded to the United States Court of Appeals for
the Fifth Circuit with instructions to direct the District Court to vacate as moot its order

granting a preliminary injunction. See United States v. Munsingwear, Inc., 340 U.S. 36

(1950).

December 11, 2023

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